               Case 1:15-cr-00347-DC Document 52 Filed 06/15/16 Page 1 of 2



1    DANIEL A. BACON 065099
     ANGELICA AMBROSE JORGENSEN 299543
2    LAW OFFICES OF DANIEL A. BACON
     2445 CAPITOL STREET, SUITE 160A
3    Fresno, California 93721
     Telephone: (559) 412-4420
4
     Attorneys for LORENZO CARRANZA-POMPA
5

6                               UNITED STATES DISTRICT COURT

7                              EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA                         Case No. 1:15-CR-00347 LJO
9                                     )
                           Plaintiff, )               STIPULATION TO MODIFY
10                                    )               CONDITIONS OF PRETRIAL RELEASE
                     vs.              )               AND ORDER THEREON
11                                    )
     LORENZO CARRANZA-POMPA,          )
12                                    )
                           Defendant. )
13   ________________________________ )
14          IT IS HEREBY STIPULATED by and between the parties hereto through their

15   attorneys of record that LORENZO CARRANZA-POMPA’s pretrial release condition

16   regarding HOME DETENTION shall be replaced with CURFEW, with the following

17   modifications:

18   CURFEW: You shall remain inside your residence every day from __9:00 p.m._ to

19   _5:00 a.m., or as adjusted by the pretrial services officer for medical, religious services,

20   employment or court-ordered obligations; and,

21          All other previously ordered conditions of release, not in conflict with this order,

22   shall remain in full force and effect.

23          Ryan Beckwith, United States Pretrial Services officer, has been informed of this

24   request and is not opposed thereto.

25   Dated: June 9, 2016.                       PHILLIP A. TALBERT, Acting U.S. Attorney

26                                              /s/ Daniel J. Griffin

27                                              BY: DANIEL J. GRIFFIN,
                                                Assistant United States Attorney
28                                              Attorney for Plaintiff

     STIPULATION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND ORDER THEREON
              Case 1:15-cr-00347-DC Document 52 Filed 06/15/16 Page 2 of 2



1

2

3

4
     Dated: June 9, 2016.                   /s/ Daniel A. Bacon
5
                                            DANIEL A. BACON,
6                                           Attorney for Defendant
                                            LORENZO CARRANZA-POMPA
7

8                                           ORDER
9
                  IT IS SO ORDERED.
10

11                Dated:    June 15, 2016                 /s/   Sheila K. Oberto       .
                                                 UNITED STATES MAGISTRATE JUDGE
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

     STIPULATION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND ORDER THEREON        2
